                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

  MATTHEW CHARLES RAMEY,                            )
                                                    )
                Plaintiff,                          )
                                                    )
  v.                                                )       No.:        2:20-CV-215-DCLC-CRW
                                                    )
  SHAWN ROUSE,                                      )
                                                    )
                Defendant.                          )

                                MEMORANDUM & ORDER

         The Court is in receipt of a pro se prisoner’s complaint under 42 U.S.C. § 1983 [Doc. 1],

 and a motion for leave to proceed in forma pauperis in this action [Doc. 4].

         It appears from the motion for leave to proceed in forma pauperis that Plaintiff lacks

 sufficient financial resources to pay the filing fee. Accordingly, pursuant to 28 U.S.C. § 1915, this

 motion [Doc. 4] is GRANTED.

        Because Plaintiff is an inmate in the Sullivan County Detention Center, he is ASSESSED

 the civil filing fee of $350.00. The custodian of Plaintiff’s inmate trust account is DIRECTED to

 submit to the Clerk, U.S. District Court, 220 West Depot Street, Suite 200, Greeneville, Tennessee

 37743, as an initial partial payment, the greater of: (a) twenty percent (20%) of the average monthly

 deposits to Plaintiff’s inmate trust account; or (b) twenty percent (20%) of the average monthly

 balance in his inmate trust account for the six-month period preceding the filing of the complaint.

 28 U.S.C. § 1915(b) (1) (A) and (B). Thereafter, the custodian of Plaintiff’s inmate trust account

 shall submit twenty percent (20%) of Plaintiff’s preceding monthly income (or income credited to

 Plaintiff’s trust account for the preceding month), but only when such monthly income exceeds

 ten dollars ($10.00), until the full filing fee of three hundred fifty dollars ($350.00) has been paid

 to the Clerk. 28 U.S.C. §§ 1915(b)(2) and 1914(a).



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        To ensure compliance with this fee-collection procedure, the Clerk is DIRECTED to mail

 a copy of this memorandum and order to the custodian of inmate accounts at the institution where

 Plaintiff is now confined, and to the Attorney General for the State of Tennessee to ensure that the

 custodian of Plaintiff’s inmate account complies with that portion of the Prison Litigation Reform

 Act relating to payment of the filing fee. This order shall be placed in Plaintiff’s prison file and

 follow him if he is transferred to another correctional institution. The Clerk is DIRECTED to

 provide a copy to the Court’s financial deputy.

        The Clerk is DIRECTED to send Plaintiff a service packet (a blank summons and USM

 285 form) for Defendant. Plaintiff is ORDERED to complete the service packet and return it to

 the Clerk’s Office within twenty-one (21) days of receipt of this order. At that time, the summons

 will be signed and sealed by the Clerk and forwarded to the U.S. Marshal for service. Fed. R. Civ.

 P. 4. Service on Defendant shall be made pursuant to Rule 4(e) of the Federal Rules of Civil

 Procedure and Rule 4.04(1) and (10) of the Tennessee Rules of Civil Procedure, either by mail or

 personally if mail service is not effective. Plaintiff is NOTIFIED that if he fails to timely return

 the completed service packet, this action will be dismissed.

        Defendant shall answer or otherwise respond to the complaint within twenty-one (21) days

 from the date of service. If Defendant fails to timely respond to the complaint, it may result in

 entry of judgment by default against him.

        Plaintiff is ORDERED to immediately inform the Court and Defendant or his counsel of

 record of any address changes in writing. Pursuant to Local Rule 83.13, it is the duty of a pro se

 party to promptly notify the Clerk and the other parties to the proceedings of any change in his or

 her address, to monitor the progress of the case, and to prosecute or defend the action diligently.

 E.D. Tenn. L.R. 83.13. Failure to provide a correct address to this Court within fourteen (14) days

 of any change in address may result in the dismissal of this action.

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        Finally, the Clerk is DIRECTED to send a copy this order and a copy of Plaintiff’s

 complaint to Sullivan County Sheriff, Jeff Cassidy, P.O. Box 589, Blountville, TN 37617.

        SO ORDERED.

        E N T E R:



                                                    s/Clifton L. Corker
                                                    United States District Judge




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